     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

GABRIEL MIRANDA, SR., and                       §
MARIA FUENTES, Individually                     §
and as Representatives of the Estate of         §
GABRIEL MIRANDA, JR.,                           §
                                                §        CIVIL ACTION NO. 7:18-CV-00353
v.                                              §        JURY
                                                §
NAVISTAR, INC., NAVISTAR                        §
INTERNATIONAL CORPORATION,                      §
IC BUS, LLC, AND IC BUS OF                      §
OKLAHOMA, LLC                                   §

DEFENDANTS NAVISTAR, INC., NAVISTAR INTERNATIONAL CORPORATION, IC
 BUS, LLC, AND IC BUS OF OKLAHOMA, LLC’S FIRST AMENDED ANSWER TO
                PLAINTIFFS’ FIRST AMENDED COMPLAINT


       Defendants Navistar, Inc., Navistar International Corporation, IC Bus, LLC and IC Bus

of Oklahoma, LLC (collectively “Defendants”) file this First Amended Answer to Plaintiffs’

First Amended Complaint as follows:

                  I.     RESPONSES TO PLAINTIFFS’ ALLEGATIONS

A.     Section I - Parties

       1.      Defendants deny the allegations in paragraph 1 of Section I Plaintiffs’ First

               Amended Complaint.

       2.      Defendants deny the allegations in paragraph 2 of Section I of Plaintiffs’ First

               Amended Complaint.

       3.      Defendants deny the allegations in paragraph 3 of Section I of Plaintiffs’ First

               Amended Complaint.

       4.      Defendants deny the allegations in paragraph 8 of Section I of Plaintiffs’ First

               Amended Complaint. (Please note that there are no paragraphs 4, 5, 6, or 7 in
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 2 of 10




             Section I of Plaintiffs’ First Amended Complaint).

      5.     Defendants deny the allegations in paragraph 9 of Section I of Plaintiffs’ First

             Amended Complaint.

      6.     Defendants deny the allegations in paragraph 10 of Section I of Plaintiffs’ First

             Amended Complaint.

B.    Section II - Venue and Jurisdiction

      1.     Defendants deny the allegations in paragraph 1 of Section II of Plaintiffs’ First

             Amended Complaint.

      2.     Defendants deny the allegations in paragraph 2 of Section II of Plaintiffs’ First

             Amended Complaint.

C.    Section III - Facts

      1.     Defendants deny the allegations in paragraph 1 of Section III of Plaintiffs’ First

             Amended Complaint.

      2.     Defendants deny the allegations in paragraph 2 of Section III of Plaintiffs’ First

             Amended Complaint.

D.    Section IV - Strict Liability Cause of Action Against Each Defendant: Navistar, Inc.,
      Navistar International Corporation, IC Bus, LLC and IC Bus of Oklahoma, LLC

      1.     Defendants deny the allegations in paragraph 1 of Section IV of Plaintiffs’ First

             Amended Complaint.

      2.     Defendants deny the allegations in paragraph 2 of Section IV of Plaintiffs’ First

             Amended Complaint.

      3.     Defendants deny the allegations in paragraph 3 of Section IV of Plaintiffs’ First

             Amended Complaint.

      4.     Defendants deny the allegations in paragraph 4 of Section IV of Plaintiffs’ First



                                         Page 2 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 3 of 10




            Amended Complaint.

      5.    Defendants deny the allegations in paragraph 4(a) of Section IV of Plaintiffs’ First

            Amended Complaint.

      6.    Defendants deny the allegations in paragraph 4(b) of Section IV of Plaintiffs’

            First Amended Complaint.

      7.    Defendants deny the allegations in paragraph 4(c) of Section IV of Plaintiffs’ First

            Amended Complaint.

      8.    Defendants deny the allegations in paragraph 4(d) of Section IV of Plaintiffs’

            First Amended Complaint.

      9.    Defendants deny the allegations in paragraph 4(e) of Section IV of Plaintiffs’ First

            Amended Complaint.

      10.   Defendants deny the allegations in paragraph 4(f) of Section IV of Plaintiffs’ First

            Amended Complaint.

      11.   Defendants deny the allegations in paragraph 5 of Section IV of Plaintiffs’ First

            Amended Complaint.

      12.   Defendants deny the allegations in paragraph 6 of Section IV of Plaintiffs’ First

            Amended Complaint.

      13.   Defendants deny the allegations in paragraph 7 of Section IV of Plaintiffs’ First

            Amended Complaint.

      14.   Defendants deny the allegations in paragraph 8 of Section IV of Plaintiffs’ First

            Amended Complaint.

E.    Section V - Negligence Cause of Action Against Each Defendant: Navistar, Inc.,
      Navistar International Corporation, IC Bus, LLC, and IC Bus of Oklahoma, LLC

      1.    Defendants deny the allegations in paragraph 1 of Section V of Plaintiffs’ First



                                        Page 3 of 10
Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 4 of 10




       Amended Complaint.

 2.    Defendants deny the allegations in paragraph 2 of Section V of Plaintiffs’ First

       Amended Complaint.

 3.    Defendants deny the allegations in paragraph 3 of Section V of Plaintiffs’ First

       Amended Complaint.

 4.    Defendants deny the allegations in paragraph 4 of Section V of Plaintiffs’ First

       Amended Complaint.

 5.    Defendants deny the allegations in paragraph 5 of Section V of Plaintiffs’ First

       Amended Complaint.

 6.    Defendants deny the allegations in paragraph 5(a) of Section V of Plaintiffs’ First

       Amended Complaint.

 7.    Defendants deny the allegations in paragraph 5(b) of Section V of Plaintiffs’ First

       Amended Complaint.

 8.    Defendants deny the allegations in paragraph 5(c) of Section V of Plaintiffs’ First

       Amended Complaint.

 9.    Defendants deny the allegations in paragraph 5(d) of Section V of Plaintiffs’ First

       Amended Complaint.

 10.   Defendants deny the allegations in paragraph 5(e) of Section V of Plaintiffs’ First

       Amended Complaint.

 11.   Defendants deny the allegations in paragraph 6 of Section V of Plaintiffs’ First

       Amended Complaint.

 12.   Defendants deny the allegations in paragraph 7 of Section V of Plaintiffs’ First

       Amended Complaint.




                                   Page 4 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 5 of 10




F.    Section VI – Individual Damages for Gabriel Miranda, Sr. and Maria Fuentes

      1.    Defendants deny the allegations in paragraph 1 of Section VI of Plaintiffs’ First

            Amended Complaint.

G.    Section VII – Damages to the Estate of Gabriel Miranda, Jr.

      1.    Defendants deny the allegations in paragraph 1 of Section VII of Plaintiffs’ First

            Amended Complaint.

H.    Section VIII – Exemplary Damages

      1.    Defendants deny the allegations in paragraph 1 of Section VIII of Plaintiffs’ First

            Amended Complaint.

I.    Section IX – Preservation

      1.    Defendants deny the allegations in paragraph 1 of Section IX of Plaintiffs’ First

            Amended Complaint.

J.    Section X – Claim for Pre-Judgment and Post-Judgment Interest

      1.    Defendants deny the allegations in paragraph 1 of Section X of Plaintiffs’ First

            Amended Complaint.

K.    Section XI – Jury Demand

      1.    Defendants deny the allegations in paragraph 1 of Section XI of Plaintiffs’ First

            Amended Complaint.

J.    Section XII – Prayer

      1.    Defendants deny the allegations in paragraph 1 of Section XII of Plaintiffs’ First

            Amended Complaint.




                                        Page 5 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 6 of 10




                                         II.     DEFENSES

       1.      This Court does not have subject matter jurisdiction over this case.

       2.      This Court does not have personal jurisdiction over Defendants.

       3.      This case is currently pending in an improper venue.

       4.      The Complaint fails to state a claim upon which relief may be granted.

       5.      All causes of action or claims for damages stated in Plaintiffs’ First Amended

Complaint are barred by the applicable statute of limitations.

       6.      Defendants deny that they owed and/or breached any legal duty allegedly owed to

Decedent Gabriel Miranda (“Decedent”) or Plaintiffs.

       7.      Defendants allege that the injuries and damages which Plaintiffs and/or Decedent

claim to have suffered were caused by the conduct, intentional, or negligent acts or omissions of

third-parties or a third-party, over whom Defendants had no control or right of control and

further that the conduct, negligent, and/or intentional acts were a proximate cause, or in the

alternative, the sole proximate cause of Plaintiffs’ and/or Decedent’s alleged injuries and

damages.

       8.      The damages, if any, to Plaintiffs and/or Decedent were the result of a new and

independent cause and/or intervening and superseding cause, not foreseeable by Defendants.

       9.      Defendants allege that Plaintiffs’ claims and causes of action, if any, against

Defendants are barred, in whole or in part, because Plaintiffs failed to mitigate their damages.

       10.     Defendants allege that Plaintiffs’ claims and causes of action, if any, against

Defendants are barred, in whole or in part, by estoppel and/or waiver.




                                            Page 6 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 7 of 10




          11.   Defendants further assert their right to proportionate responsibility, contribution,

comparative fault, indemnity, and/or credit pursuant to Chapters 32 and 33 of the Texas Civil

Practice and Remedies Code.

          12.   Defendants invoke their right to reduction of any verdict that may be rendered in

this case by credit for payments made by other persons or by a percentage reduction to which

Defendants would be entitled.

          13.   Any award of interest in excess of the applicable market rate of interest during the

relevant time period would be arbitrary, violate public policy, and violate the due process and

equal protection guarantees of the Texas and United States Constitutions.

          14.   In the unlikely event that Plaintiffs recover damages against Defendants under

one or more theories of recovery, Plaintiffs must elect their remedies.

          15.   Pleading alternatively, Defendants invoke the liability limitations of TEX. CIV.

PRAC. & REM. CODE §§ 41.007, 41.008, 41.010, and 41.011, et seq.

          16.   Defendants invoke and assert the provisions of TEX. CIV. PRAC. & REM. CODE §

41.0105.

       17.      Defendants invoke and assert the provisions of TEX. CIV. PRAC. & REM. CODE §

18.091.

       18.      Defendants invoke and assert the provisions of TEX. CIV. PRAC. & REM. CODE §

93.001(a)(2) and assert the affirmative defense of assumption of the risk.

       19.      Defendants will further show that if pre-judgment interest is recoverable in this

case, it is limited in accordance with TEX. FIN. CODE § 304.101 et seq. Defendants will further

show that if post-judgment interest is recoverable in this case, it is limited in accordance with

TEX. FIN. CODE § 304.003(c). Defendants further assert and plead that pre-judgment interest is




                                            Page 7 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 8 of 10




not allowed on any award of exemplary damages in this matter in accordance with TEX. CIV.

PRAC. & REM. CODE § 41.007.

       20.    Defendants plead that with respect to all claims seeking punitive or exemplary

damages, such damages are inappropriate and impermissible under the law due to the following:

              •      Punitive or exemplary damages are criminal, or quasi-criminal in
                     nature, and Plaintiff should be required to prove the basis of such
                     damages beyond a reasonable doubt and the failure to require the
                     same is a denial of due process under law and a denial of equal
                     protection of the law as prescribed under the United States
                     Constitution and the Constitution of the State of Texas.

              •      An award of punitive or exemplary damages would constitute a
                     taking of property without due process of law as guaranteed by the
                     United States Constitution and the Constitution of the State of
                     Texas.

              •      It is a denial of due process of law and of equal protection of the
                     law under the United States Constitution and the Constitution of
                     the State of Texas to permit a corporation to be vicariously liable
                     for punitive or exemplary damages which were awarded on the
                     basis of alleged acts or omissions of employees, agents, and/or
                     representatives of the corporation under the doctrine of respondeat
                     superior or any other vicarious liability doctrine.

              •      Punitive and/or exemplary damages constitute an unjust
                     enrichment by reason of the unconstitutional taking of property
                     without due process of law as provided under the United States
                     Constitution and the Constitution of the State of Texas.

              •      Under Texas law, the measure of damages for punitive and
                     exemplary damages is so vague and ambiguous on its face as well
                     as in its application, that it denies Defendants due process of law
                     and equal protection of the law as provided under the United States
                     Constitution and the Constitution of the State of Texas.

              •      Under Texas law, the measure of damages for punitive and
                     exemplary damages is so vague and ambiguous that it prevents
                     courts and juries from consistently applying the law, and therefore,
                     further prevents effective judicial review of any such punitive
                     damages awards.




                                         Page 8 of 10
     Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 9 of 10




               •       Under Texas law, the measure of damages for punitive and
                       exemplary damages is so vague and ambiguous that the basis of
                       such damages cannot be clearly and readily ascertained in advance
                       so as to guide the behavior of individuals in their actions, thus
                       constituting an ex-post facto law specifically prohibited by the
                       United States Constitution and the Constitution in the State of
                       Texas.

               •       An award of punitive and exemplary damages violates the
                       excessive fines clause of the Eighth Amendment as applied to the
                       Fourteenth Amendment of the United States Constitution.

               •       The defendant who is subject to the award does not have the right
                       to refuse to testify against him/her/itself but must in fact take the
                       stand and/or give deposition testimony or subject him/her/itself to
                       the consequences of a default judgment.

               •       Any ratio of exemplary damages to actual damages greater than
                       1:1 violates the due process and excessive fines clauses of the state
                       and federal constitutions

                                                III.

                                            PRAYER

       Defendants Navistar, Inc., Navistar International Corporation, IC Bus, LLC, and IC Bus

of Oklahoma, LLC request that the Court dismiss this case in in its entirety, deny all relief sought

by Plaintiffs, and award Defendants such relief, including attorney’s fees and costs, to which

they may be justly entitled.




                                            Page 9 of 10
    Case 7:18-cv-00353 Document 31 Filed on 10/24/19 in TXSD Page 10 of 10




                                           Respectfully submitted,

                                           By: /s/ William J. Collins, III
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                                           ATTORNEY-IN-CHARGE FOR
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                                           LLC AND IC BUS OF OKLAHOMA, LLC

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to all counsel of record in compliance with the Federal Rules of Civil Procedure, on
October 22, 2019.

                                           /s/    William J. Collins, III
                                           William J. Collins, III




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                                        Page 10 of 10
